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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

JANE DOE,                              )
                                       )
Plaintiff,                             )
                                       )
v.                                     )       2015 cv. __________________
                                       )
THE STANDARD INSURANCE                 )
COMPANY,                               )
                                       )
Defendant.                             )



                      PLAINTIFF’S MOTION TO PROCEED UNDER
                              PSEUDONYM JANE DOE


         The Plaintiff hereby moves the court, pursuant to Federal Rules of Civil Procedure

 5.2 and 7 and Rule 7 of the Local Rules of the United States District Court of Maine, for an

 order permitting her to proceed in this case using the pseudonym, Jane Doe, and to also

 reference to her prior employer as “Law Firm.” In support hereof, Plaintiff relies upon the

 Confidential Declaration of Geraldine G. Sanchez, Esq., dated March 17, 2015 (“Sanchez

 Dec.”) and the Memorandum of Law incorporated herein.

         The undersigned counsel has requested Defendant’s assent to this Motion and has

 been informed that Defendant will communicate its position regarding the requested relief

 once the Complaint has been filed.

                                 MEMORANDUM OF LAW

 I.      Background

         Plaintiff was a well-known partner at a Maine law firm (the “Law Firm”) and an

 active member of the Maine bar. Sanchez Dec., ¶¶ 2-4. While at her firm, Plaintiff
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       became severely depressed with suicidal ideation. Id. at ¶ 5. In March of 2012, Plaintiff

       filed a claim with Defendant seeking long-term disability benefits under the Law Firm’s

       employee benefit plan. Plaintiff received 24-months of benefits for her mental health

       disability from Defendant. The disputed issue is whether Plaintiff received the full amount

       of benefits owed to her under the terms of the Plan. Complaint at ¶¶ 29-30.

              This action is governed by the Employee Retirement Income Security Act of 1974

       ("ERISA"), 29 U.S.C. § 1001 et seq. The administrative record in this case is replete with

       confidential medical and employment information discussing highly sensitive matters

       relating to Plaintiff’s illness, personal life, partnership compensation, law firm equity, and

       her experiences with her employer including specific attorney/partners at the firm.

       Sanchez Dec., ¶ 5.

              Because many attorneys regularly access and review this Court’s docket and new

       case filings, there is a significant likelihood that this sensitive information regarding

       Plaintiff, her spouse and her former employer will be disclosed and potentially shared

       throughout the bar, if the present relief is not granted.

              Further, names and other identifying information of Plaintiff, her former partners

       and her firm pervade the file making complete redaction difficult. Therefore, Plaintiff will

       request that the Court issue a confidentiality order so that the administrative record and

       documents therein may be filed under seal. Plaintiff will work with the Defendant

       regarding confidentiality once the Court has ruled on the present motion and a scheduling

       order has been issued.

	  




	  
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       II.     Argument

             Plaintiff recognizes that the federal courts are public facilities and should generally

operate publicly. While there is a presumption that parties must be explicitly named, "[t]he

presumption can be rebutted. A litigant is allowed … if there are compelling reasons of personal

privacy, to litigate under a pseudonym." Goesel v. Boley Intern. (HK) Ltd , 738 F.3d 831, 833

(7th Cir. 2013). See also Doe v. Word of Life Fellowship, Inc., No. 11-40077-TSH, 2011

WL 2968912, at *1 (D. Mass. July 18, 2011) ("[c]ourts do recognize that the use of

pseudonyms is necessary in specific circumstances").

             Plaintiff is not aware of any Supreme Court or First Circuit Court of Appeals cases
setting forth explicit criteria for proceeding under a pseudonym. See id at * 1 ("The U.S.
Supreme Court has yet to set a standard to determine when the use of a pseudonym is
proper, and the Circuits have created various discretionary factor tests to balance competing
interests of public access and privacy.") In the Seventh Circuit, however, the presumption
that plaintiffs must proceed publicly "can be rebutted by showing that the harm to the
plaintiff . . . exceeds the likely harm from concealment." Doe v. City of Chicago, 360 F.3d
667, 669 (7th Cir. 2004). The Ninth Circuit allows parties to use pseudonyms "in special
circumstances when the party's need for anonymity outweighs prejudice to the opposing
party and the public's interest in knowing the party's identity." Does I thru XXIII v. Advanced
Textile Corp., 214 F.3d 1058, 1068 (9th Cir. 2000).
             Here, the special circumstances of this case overcome the general presumption that parties

should publicly litigate their cases. As discussed above, Plaintiff remains a well-known lawyer who

practiced for decades with her law firm. She suffers from severe depression and has been treated for

suicidal ideation. The administrative record contains highly sensitive information regarding her condition,

her employment and her personal life.

	  
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                                                        As this Court is aware, federal practitioners in Maine actively review new case filings and decisions.

Due to Plaintiff’s legal career, there is a significant likelihood that certain attorneys will delve into the

details of her case in order to gain insights into her personal life and the business of her former law firm.

Correctly or not, risk of widespread disclosure causes great anxiety and embarrassment in Plaintiff to the

extent of potentially chilling her need to pursue benefits in court and exacerbating her underlying condition.

See Doe v. Provident Life & Acc. Ins. Co., 176 F.R.D. 464, 468 (E.D. Pa. 1997)

("Unfortunately, in our society, there is a significant stigma associated with being identified as

suffering from a mental illness. . . . the public has an interest in preventing the stigmatization

of litigants with mental illnesses. Further, plaintiff's identity should be protected in order to avoid

deterring people with mental illnesses from suing to vindicate their rights.")1

                                                          The federal courts have frequently permitted parties suffering from mental illness to

proceed under a pseudonym. For example, in Doe v. Miami Life & Health Ins. Co., 471 F. Supp.

2d 139 (D.D.C. 2007), a 20-year-old woman challenging the denial of insurance benefits for

treatment of her bulimia nervosa was permitted to proceed anonymously. In Douglas S. v. Altius

Health Plans, Inc., 409 Fed. Appx. 219 (10th Cir. 2010), the plaintiffs -both the patient and her

parents -proceeded under pseudonyms in a case involving the defendant's denial of insurance

benefits for the plaintiff’s treatment of depression. See also Anonymous Oxford Health Plan

Member with ID No. 6023604*01 v. Oxford Health Plans (N Y), Inc., No. 08 Civ. 943 (PAC), 2009

WL 667237 (S.D.N.Y. March 16, 2009) (involving denial of inpatient treatment of an eating

disorder); Beverly C. v. Hampstead Outlook, Inc., No. C-93-307-L, 1994 WL 369534 (D.N.H. July

12, 1994) (involving civil rights allegations of a plaintiff suffering from an eating disorder); Doe v.

Colautti, 592 F.2d 704 (3d Cir. 1979); Doe v. Harris, 495 F. Supp. 1161 (S.D.N.Y. 1980);
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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      	  This motion does not advocate for a whole-cloth exemption for lawyers from the presumption of public disclosure of litigants.
However, the circumstances of this case (e.g., a lawyer-plaintiff whose claim centers upon when she became disabled with depression
from her law firm) present a compelling need for Plaintiff to proceed under a pseudonym.	  
	  
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Doe v. Gallinot, 486 F. Supp. 983 (C.D. Cal.1979); Doe v. New York Univ., 442 F. Supp. 522

(S.D.N.Y. 1978).

              The requested relief will also not result in any prejudice to Defendant or harm to

the public’s interest in the suit. Defendant is well accustomed to the handling and

litigating of claims with confidential information subject to redaction. Plaintiff will work

with Defendant to propose a Local Rule 26 Confidentiality Order that balances both the

risk of widespread public disclosure of sensitive information with any burden imposed due

to the use of a pseudonym in the action. Further, the public will have full access to any

decisions issued by the Court and the reasoning therefor. As a result, the public’s interest

in preserving the precedential value of the case remains intact.

       III.   Conclusion

For all the reasons above, Plaintiff therefore respectfully requests that the Court permit her

to proceed in this action under a pseudonym and such other and further relief as the Court

may deem just and appropriate.

DATED: March 17, 2015
                                                    /s/Geraldine G. Sanchez________
                                                    Geraldine G. Sanchez, Bar No. 8050

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                                                    Attorneys for Plaintiff Jane Doe




	  
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                                   CERTIFICATE OF SERVICE

I hereby certify that a copy of the Plaintiff’s Motion to Proceed under the Pseudonym Jane Doe will be
served with the Complaint upon Defendant. The undersigned will further verify the actual date of service
of this Motion when Plaintiff’s files the return/acknowledgement of service with the Clerk of the Court
using the CM/ECF system.


Dated: March 17, 2015                           /s/ Geraldine G. Sanchez
                                                Geraldine G. Sanchez

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